   Case 3:22-cv-00211-SDD-SDJ       Document 339-1      01/15/24 Page 1 of 16




                   UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENE SOULE,
ALICE WASHINGTON, CLEE EARNEST
LOWE, DAVANTE LEWIS, MARTHA
DAVIS, AMBROSE SIMS, NATIONAL
ASSOCIATION FOR THE ADVANCEMENT Civil Action No. 3:22-cv-00211-SDD-RLB
OF COLORED PEOPLE (“NAACP”)
LOUISIANA STATE CONFERENCE, and
POWER COALITION FOR EQUITY AND
JUSTICE,

                 Plaintiffs,

                     v.

NANCY LANDRY, in her official capacity as
Secretary of State for Louisiana,

                Defendant.

EDWARD GALMON, SR., CIARA HART,
NORRIS HENDERSON, and TRAMELLE
HOWARD,
             Plaintiffs,                    Civil Action No. 3:22-cv-00214-SDD-RLB

                     v.

NANCY LANDRY, in her official capacity as
Secretary of State for Louisiana,

                Defendant.



PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION TO EXCLUDE
      PROPOSED EXPERT TESTIMONY OF DAVID A. SWANSON, Ph.D.
           Case 3:22-cv-00211-SDD-SDJ                             Document 339-1                   01/15/24 Page 2 of 16




                                                     TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1
LEGAL STANDARD ..................................................................................................................... 1
ARGUMENT .................................................................................................................................. 2
      I.     Dr. Swanson is not qualified to opine on communities of interest in the redistricting
             context. ............................................................................................................................. 2
      II. Dr. Swanson’s opinions and methodologies are unreliable. ............................................. 4
             A. Dr. Swanson’s methodology of Googling online maps to identify communities of
                interest is deeply flawed. ........................................................................................... 4
             B. Dr. Swanson’s use of a clustering algorithm to identify communities of interest is
                deeply flawed. ........................................................................................................... 7
CONCLUSION ............................................................................................................................. 11




                                                                         i
         Case 3:22-cv-00211-SDD-SDJ                             Document 339-1                  01/15/24 Page 3 of 16




                                                 TABLE OF AUTHORITIES



Cases                                                                                                                               Page(s)

Daubert v. Merrell Dow Pharms., Inc.,
   509 U.S. 579 (1993) .....................................................................................................1, 2, 6, 11

Gen. Elec. Co. v. Joiner,
   522 U.S. 136 (1997) ...........................................................................................................1, 2, 8

Haynes ex rel. Haynes v. Nat’l R.R. Passenger Corp.,
   319 F. App'x 541 (9th Cir. 2009) ...............................................................................................7

Kumho Tire Co., Ltd. v. Carmichael,
  526 U.S. 137 (1999) ...................................................................................................................1

Madison v. Courtney,
  No. 4:18-CV-00671-O, 2019 WL 8263428 (N.D. Tex. Jan. 26, 2019) .....................................7

Moore v. Ashland Chem. Inc.,
  151 F.3d 269 (5th Cir. 1998) (en banc) .....................................................................................2

Muñoz v. Orr,
  200 F.3d 291 (5th Cir. 2000) .....................................................................................................8

Stragent, LLC v. Intel Corp.,
    No. 6:11-CV-421, 2014 WL 1389304 (E.D. Tex. Mar. 6, 2014) ), order
    clarified, No. 6:11-CV-421, 2014 WL 12611339 (E.D. Tex. Mar. 12, 2014) ..........................8

Other Authorities

Fed. R. Evid. 701 .............................................................................................................................4

Fed. R. Evid. 702 .....................................................................................................................1, 6, 7




                                                                      ii
      Case 3:22-cv-00211-SDD-SDJ             Document 339-1      01/15/24 Page 4 of 16




                                      INTRODUCTION

       Defendants’ expert witness Dr. David A. Swanson is patently unqualified to provide expert

testimony regarding communities of interest in Louisiana’s congressional districts. Dr. Swanson

has little more than a passing familiarity with the concepts and maps he advances in his reports,

with communities of interest in Louisiana, or with redistricting generally. Rather than educate

himself on the issues relevant to this case, Dr. Swanson’s “expert” report is based on little more

than a Google search and a novel and inappropriate “clustering” algorithm that is wholly divorced

from the way Louisiana congressional districts are actually configured. As a result, the testimony

he would offer is based on unreliable methodology that does not resemble the work of experts in

the field of demographics or redistricting and, as such, does not meet the requirements of Federal

Rule of Evidence 702. Plaintiffs respectfully request that the Court exclude the Expert Report of

David A. Swanson, Ph.D., Sept. 15, 2023, Ex. 1 (“Swanson Rep.”), the Supplemental Expert

Report of David A. Swanson, Ph.D., Jan. 11, 2024, Ex. 2 (“Swanson Supp. Rep.”), 1 and any

testimony offered by Dr. Swanson at trial.

                                     LEGAL STANDARD

       Expert testimony must be qualified, reliable, and relevant to be admissible. Fed. R. Evid.

702; Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). Courts act as gatekeepers to

ensure expert testimony meets these requirements and to evaluate whether there is an adequate fit

between the data and the opinion proffered. Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).

This gatekeeping obligation extends to all scientific, technical, or other specialized knowledge.

Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 148 (1999). Testimony must be grounded in



1
  Dr. Swanson’s supplemental report applies the same analysis as his original report to the fifth
illustrative map submitted by William Cooper and the fourth illustrative map submitted by
Anthony Fairfax on December 22, 2023.


                                                1
      Case 3:22-cv-00211-SDD-SDJ              Document 339-1        01/15/24 Page 5 of 16




the relevant methods and procedures and must be more than unsupported speculation or subjective

belief. Daubert, 509 U.S. at 590. The proponent of an expert’s testimony bears the burden of

establishing the reliability of the expert’s testimony. Moore v. Ashland Chem. Inc., 151 F.3d 269,

276 (5th Cir. 1998) (en banc). A court may exclude “opinion evidence that is connected to existing

data only by the ipse dixit of the expert.” Joiner, 522 U.S. at 146.

       Courts apply a “five-factor, non-exclusive, flexible test” to determine reliability under

Daubert: (1) whether the theory has been tested; (2) whether it has been subject to peer review and

publication; (3) its known or potential rate of error; (4) the existence and maintenance of standards

and controls; and (5) the degree to which the theory has been generally accepted in the scientific

community. Moore, 151 F.3d at 275. The proffered testimony of Dr. Swanson fails each and every

element of this test, and then some.

                                           ARGUMENT

       The Court should exclude Dr. Swanson’s reports and testimony. He is not qualified to opine

on communities of interest in Louisiana, and the methodologies presented in his reports are

unreliable.

I.     Dr. Swanson is not qualified to opine on communities of interest in the redistricting
       context.

       First and foremost, Dr. Swanson lacks the knowledge, skill, experience, training, or

education to testify reliably about communities of interest in the context of Louisiana redistricting.

Dr. Swanson claims that his field of expertise is in demography, but, by his own account, he only

knows “something about the field” of redistricting. Deposition of David A. Swanson, Ph.D., Sept.

22, 2023, Ex. 3 (“Swanson Dep. Tr.”) 19:7–17. He has not taught any courses nor published any

peer-reviewed articles on redistricting. Id. 19:25–20:8. Dr. Swanson admits that his expertise is

not in the “discrete area of redistricting,” and he is unfamiliar with the methodology of redistricting



                                                  2
      Case 3:22-cv-00211-SDD-SDJ               Document 339-1       01/15/24 Page 6 of 16




scholars in analyzing communities of interest. Id. 37:3–38:2 (“Again, I’m not able to speak to what

[redistricting scholars] generally use[.]”).

       Not only does Dr. Swanson lack expertise in redistricting, but he also lacks the ability to

produce or verify the results of the figures in his own report. In fact, Dr. Swanson only has a “basic

understanding of GIS and mapping” and lacks the skillset to generate many of the maps and

analyses that appear in his own expert reports. Id. 24:10–25:6. In fact, many figures in Dr.

Swanson’s report were prepared by Thomas Bryan of Bryan GeoDemographics, who was also

responsible for gathering much of the underlying data. Id. 22:4–23:7, 25:20–25. Dr. Swanson lacks

the expertise to verify the accuracy of analyses provided by Bryan GeoDemographics, and the only

validation he could conduct was to “look[] at the maps and mak[e] sure they looked reasonably

consistent.” Id. 23:8–25:11 (“I would have had to teach myself or go through a lot of coursework

with GIS in order to [verify the accuracy of analyses].”).

       Notably, Defendants previously offered Mr. Bryan as an expert in this case. In its order

granting Plaintiffs’ motion for preliminary injunction, this Court found that Mr. Bryan’s

methodology was “poorly supported,” his conclusions were “unsupported by the facts and data in

this case and thus wholly unreliable,” and his analysis “lacked rigor and thoroughness, which

further undermines the reliability of his opinions.” ECF No. 173, 92–94. This Court accordingly

gave “very little weight to Bryan’s analysis and conclusions.” Id. at 94. Defendants have elected

not to disclose Mr. Bryan as a witness they intend to call at trial; they should not be permitted to

launder Mr. Bryan’s discredited approach through another witness who is unable to answer

questions about Mr. Bryan’s processes.




                                                  3
          Case 3:22-cv-00211-SDD-SDJ           Document 339-1        01/15/24 Page 7 of 16




          Dr. Swanson is not qualified by knowledge, skill, experience, training, or education to

provide the opinions in his report. He has at most a rudimentary understanding of the analyses and

maps in his own expert report and cannot serve as a reliable witness on these matters. 2

    II.      Dr. Swanson’s opinions and methodologies are unreliable.

             A. Dr. Swanson’s methodology of Googling online maps to identify communities
                of interest is deeply flawed.

          Dr. Swanson’s report presents a series of Louisiana regional maps that he offers to identify

the communities of interest that map-drawers must prioritize when drawing congressional districts.

See Swanson Rep. at 25–29. Dr. Swanson did not create these maps based on his own expert

familiarity with the state; nor did he extract them from peer-reviewed or redistricting-related

literature; nor did he perform a comprehensive survey of all Louisiana regional maps and select

the ones that were most probative of redistricting criteria. Instead, he resorted to the go-to method

of non-experts in every field: “A Google search.” Swanson Dep. Tr. 121:19–23. Dr. Swanson

copied into his report the first four maps that popped up from his search, id. 121:24–122:2, without

any effort to determine whether the maps were drawn by relevant (or reliable) sources, without

any analysis of whether the maps he chose were consistent with other efforts to identify

communities of interest that are relevant to congressional districting, and without any

consideration of how Google’s algorithm could be influenced by the nature or contents of the

search results or his own search history or location.

          The four maps that Dr. Swanson identifies were created by the Louisiana Regional Folklore

Program; an apparent advertiser in Smithsonian magazine seeking to lure tourists; the Louisiana




2
  Nor is Dr. Swanson qualified to testify about Louisiana communities of interest as a lay witness.
See Fed. R. Evid. 701. He has never lived in Louisiana or visited Louisiana for more than three or
four days at a time. Swanson Dep. Tr. 17:13–15, 18:13–15.


                                                   4
      Case 3:22-cv-00211-SDD-SDJ              Document 339-1        01/15/24 Page 8 of 16




Department of Culture, Recreation, and Tourism (purporting to depict “Folklife Regions”); and

the Louisiana Economic Development Agency, respectively. Swanson Rep. 25–29. Dr. Swanson

did not know when any of these maps were created, how they were created, or why they were

created. Swanson Dep. Tr. 123:4–124:16 (disclaiming knowledge of Louisiana Regional Folklore

Program map); id. 124:24–127:8 (disclaiming knowledge of Smithsonian advertisement); 127:9–

129:10 (disclaiming knowledge of Louisiana Department of Culture, Recreation, and Tourism

map); id. 129:11–131:13 (disclaiming knowledge of Louisiana Economic Development Agency

map). Notably, Dr. Swanson conceded that, to his understanding, none of the four maps were

drawn to identify communities of interest for redistricting purposes, and there was no indication

that any of the maps reflected communities that are likely to have similar legislative concerns and

who might benefit from cohesive representation. Id. 124:7–16; 125:19–126:3; 128:6–16; 130:10–

18.

       Instead, the maps appear to reflect no more than the organizational agendas of their

creators. Two of the maps—the tourist advertisement in Smithsonian Magazine and the map

generated by the Louisiana Department of Culture, Recreation, and Tourism—appear to be

directed at the potential interests of out-of-state tourists rather than the interests of Louisianians.

The map generated by the Louisiana Economic Development Agency, in turn, does not purport to

identify regions based on shared economic development criteria; rather, the report simply

highlights that economic investments have been made in every corner of the state. 3 Two of the

maps that Dr. Swanson identifies reference folklore or folklife, but they do not address the interests

of State citizens relevant to legislative concerns. And Dr. Swanson ignores another online map of



3
      See    La.    2022      Annual     Report     at    46–47,     La.    Econ.       Dev.,
https://www.opportunitylouisiana.gov/wp-content/uploads/docs/23led103_led-
annualreport2022_single_all_pages_lowres.pdf?sfvrsn=c9dab805_0 (last accessed Jan. 15, 2024).


                                                  5
      Case 3:22-cv-00211-SDD-SDJ              Document 339-1        01/15/24 Page 9 of 16




“Louisiana Folk Regions” that shows the Delta Parishes connected to Baton Rouge 4—the very

connection that Dr. Swanson’s analysis purports to reject. The maps Dr. Swanson found are

patently not a reliable basis for identifying communities of interest relevant to redistricting.

       Ultimately, even if the maps Dr. Swanson relies upon were a relevant, reliable basis for

identifying Louisiana communities of interest, none of the maps that Dr. Swanson presents offers

a tenable basis for redistricting. While Louisiana’s congressional map must be comprised of six

equally populated districts, each of the maps in Dr. Swanson’s report contains either five or eight

regions, none of which are drawn to be equally populated. As a result, it is inevitable that any

congressional map in Louisiana will divide regions Dr. Swanson contends should remain united

and/or combine regions that Dr. Swanson contends are dissimilar.

       Dr. Swanson’s methodology completely fails the Rule 702 test. See Daubert, 509 U.S. at

593–95. The reliability of Googling for regional maps and then selecting an arbitrary number that

appear at the top of the search results, with unidentified search terms on a computer with an

unknown location and unknown search history, has not been tested, has not been subject to peer

review, has not been published, does not have an identifiable error rate, does not reflect the

existence and maintenance of standards and controls, and is not generally accepted in the political

science community. See, e.g., Madison v. Courtney, No. 4:18-CV-00671-O, 2019 WL 8263428,

at *3 (N.D. Tex. Jan. 26, 2019) (disqualifying an expert who “merely ran a Google search” and

pasted the results without any explanation for how his expertise guided his conclusions); Haynes

ex rel. Haynes v. Nat’l R.R. Passenger Corp., 319 F. App'x 541, 543 (9th Cir. 2009) (finding that




4
  See La. Folk Regions, ResearchGate, https://www.researchgate.net/figure/Map-showing-
Louisianas-main-folk-regions-and-nine-cultural-subregions-Image-source_fig4_337225536 (last
accessed Jan. 15, 2024).


                                                  6
     Case 3:22-cv-00211-SDD-SDJ            Document 339-1        01/15/24 Page 10 of 16




a Google search, which would “ordinarily be a basis for little more than lay speculation,” cannot

provide the basis for expert opinion).

       As observed by Dr. Jonathan Rodden, a professor of political science at Stanford University

with extensive redistricting experience, Dr. Swanson’s approach is “deeply flawed,” “cannot

possibly serve as a reliable guide,” “cannot generate useful conclusions,” is “arbitrary and

discretionary,” and is “untenable.” Expert Report of Dr. Jonathan Rodden (“Rodden Rep.”) at 2–

3, 6–15, Ex. 4. Dr. Swanson’s own explanation for how he chose the regional maps for his report

confirms there was no application of expertise: “[T]hose are the ones I found pretty quickly,” he

explained, “so I used them.” Swanson Dep. Tr. 93:3–7. Any layperson could conduct this type of

cursory online search; Dr. Swanson’s approach reflects no “expert” methodology and comes with

no assurances of reliability. Because Dr. Swanson’s opinions on communities of interest in

Louisiana fail the requirements of Rule 702, they should be excluded.

           B. Dr. Swanson’s use of a clustering algorithm to identify communities of interest
              is deeply flawed.

       Dr. Swanson next attempts to distinguish disparate communities of interest in Louisiana

through his novel and inappropriate use of a clustering algorithm, but he makes several errors that

deviate from the normal rigor and practice of redistricting scholars. Swanson Rep. at 33–35. Dr.

Swanson is no expert in cluster analysis. He possesses only a “basic understanding” of the cluster

analysis he employs and has never published any research—let alone peer-reviewed papers—

relating to the use of cluster analysis to evaluate redistricting maps. Swanson Dep. Tr. 20:9–25.

To conduct his analysis, Dr. Swanson chose 14 of the 97 parish-level variables tracked by the U.S.

Census Bureau and split all 64 parishes in Louisiana into two clusters based on the extent to which

they share characteristics associated with the 14 selected variables. Swanson Rep. at 34–37;

Swanson Dep. Tr. 61:5–18. As Dr. Rodden explained, “[w]ithout a principled and rigorous way of



                                                7
     Case 3:22-cv-00211-SDD-SDJ              Document 339-1        01/15/24 Page 11 of 16




deciding which variables to include, [Dr. Swanson’s] approach is arbitrary and without meaning.”

Rodden Rep. at 19. Dr. Swanson also failed to conduct any robustness checks to test the validity

of his conclusions. Id. 36:6–8 (“So you just accepted the results of the cluster analysis? A: Yes.”).

Though he recognized that the variables vary in terms of their importance, Dr. Swanson did not

weigh any of the variables. Swanson Dep. Tr. 70:9–4. This arbitrary approach cannot be found

reliable. Stragent, LLC v. Intel Corp., No. 6:11-CV-421, 2014 WL 1389304, at *4 (E.D. Tex. Mar.

6, 2014), order clarified, No. 6:11-CV-421, 2014 WL 12611339 (E.D. Tex. Mar. 12, 2014).

       Dr. Swanson repeated his cluster analysis exercise with 12 variables, 9 variables, and 7

variables, each time arbitrarily dropping variables. Swanson Rep. at 38–39. The 14-variable and

12-variable results are identical, and the 9-variable and 7-variable results are identical, indicating

that the employment variables and migration variables that Dr. Swanson chose to omit in the lower-

numbered exercise were not important to the clusters and likely highly correlated with other

variables. Swanson Rep. at 54–62. Dr. Swanson did not implement any robustness checks before

running his cluster analysis to identify these or any other correlated variables. Swanson Dep. Tr.

88:7-15.

       As Dr. Rodden further explained, Dr. Swanson’s “selection of variables also preordains

certain outcomes.” Rodden Rep. at 19. For example, Dr. Swanson included a variable for

population per square mile in each iteration, Swanson Report at 37–39, producing clusters that

necessarily separated cities from rural areas. Affirmatively choosing variables that assign urban

areas and rural areas to different clusters is not reliable evidence that urban and rural areas do not

share interests; instead, that result is simply an artifact of how Dr. Swanson designed his model.

See Joiner, 522 U.S. at 146; Muñoz v. Orr, 200 F.3d 291, 301 (5th Cir. 2000) (finding that an




                                                  8
     Case 3:22-cv-00211-SDD-SDJ              Document 339-1        01/15/24 Page 12 of 16




expert’s failure to consider other explanatory variables and verify data could render the testimony

unreliable).

       Dr. Swanson’s foray into cluster analysis included other errors that would be immediately

obvious to anyone familiar with redistricting. For example, his 9-variable and 7-variable iterations

produced a cluster of five disconnected parishes from all across the state. See Swanson Rep. at 54–

62; Rodden Rep. at 20–21. These results cannot provide any meaningful insights into Louisiana

congressional districting, which requires equally populated and contiguous districts.

       Dr. Swanson’s cluster analysis is also faulty and unreliable in his choice to generate only

two clusters for all 64 parishes in Louisiana, a state with six congressional districts. Swanson Rep.

at 36. He reasoned that two clusters were sufficient because if two parishes are not “in the same

cluster under the two-cluster option, then they will not be in the same cluster under any” other

scenario. Id. But simple logic defies that reasoning. If ten parishes were ordered by population and

divided into two clusters, the fifth and sixth largest parishes would be in different clusters; but if

those same ten parishes were divided by population into three clusters, then the fifth and sixth

largest parishes would be in the same cluster. Thus, Dr. Swanson failed to consider that parishes

assigned to different clusters in his two-cluster analysis could reasonably be assigned to the same

“cluster” or district in a congressional map composed of six equally populated and contiguous

districts. Dr. Swanson did not test his results for any number of clusters other than two, even though

he agreed that there may be more than two communities of interest in Louisiana. Swanson Dep.

Tr. 59:16–22.

       Furthermore, Dr. Swanson admits that cluster analysis is not routinely used by redistricting

scholars. Id. 53:9–21. Though Dr. Swanson occasionally cites the academic work of other scholars,

he uses cluster analysis in a manner that is opposite to that used by those scholars. Scholars have




                                                  9
     Case 3:22-cv-00211-SDD-SDJ              Document 339-1        01/15/24 Page 13 of 16




used social and demographic data to find clusters of voters with similar characteristics—

communities of interest that map drawers might attempt to keep together. See, e.g., John

Mollenkopf, Joseph Pereira, and Steven Romalewski, “Communities of Interest” and City Council

Districting         in        New          York,        2012-2013           (February          2013),

https://www.gc.cuny.edu/sites/default/files/2021-05/CUR-Communities-of-Interest-NY-2012-

2013.pdf. Dr. Swanson, on the other hand, uses his analysis to justify keeping certain groups apart

if they appear in different clusters. But Dr. Swanson offers no evidence or analysis showing that

areas in different clusters should be part of different electoral districts. Dr. Swanson further

departed from professional practices by limiting his analysis to only two clusters; by failing to

consider other variables for inclusion in a methodical way; and by failing to properly consider

geography or contiguity. Id.; Swanson Dep. Tr. 41:9–10. Because the clusters he generates are not

contiguous, they cannot possibly be drawn into actual congressional districts. Daubert requires

experts to employ the same intellectual rigor of experts in the relevant field. Dr. Swanson was

unable to identify any reason to believe that his particular ad hoc clustering methodology satisfies

this requirement.

       Finally, Dr. Swanson’s cluster analysis calls into question the Enacted Plan as much as it

does Plaintiffs’ illustrative plans. Dr. Swanson uses his cluster analysis to conclude that East Baton

Rouge is, in his “judgmental likelihood,” in a different grouping from East Carroll, Franklin,

Madison, Morehouse, Richland, Tensas, and West Carroll. Swanson Dep. Tr. 90:23–91:12;

Swanson Supp. Rep. at 30; Swanson Rep. at 41. The results of Dr. Swanson’s cluster analysis rest

on the notion that districts should not include parishes that are in different clusters, but this

requirement—which in any event seemingly has no support in the academic literature or relevant

legal authority—would defeat the Enacted Plan’s CD 2, 4, 5, and 6, each of which contain parishes




                                                   10
     Case 3:22-cv-00211-SDD-SDJ             Document 339-1        01/15/24 Page 14 of 16




in different clusters. See Rodden Rep. at 21. Indeed, it is not clear that any Louisiana map could

sort congressional districts consistently with the clusters that Dr. Swanson manufactured. Once

again, Dr. Swanson’s methodology has not been tested, subject to peer review or publication,

evaluated for a potential error rate, subject to standards and controls, or generally accepted in the

scientific community. Daubert, 509 U.S. at 593–95. Accordingly, Dr. Swanson’s clustering

analysis and related opinions should be excluded.

                                         CONCLUSION

       The Court should exclude the proposed testimony and expert reports of Dr. David A.

Swanson.




                                                 11
     Case 3:22-cv-00211-SDD-SDJ          Document 339-1        01/15/24 Page 15 of 16




Date: January 15, 2024                             Respectfully submitted,

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                                              12
 Case 3:22-cv-00211-SDD-SDJ          Document 339-1     01/15/24 Page 16 of 16




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                                        13
